          Case 19-40196-KKS     Doc 18   Filed 05/16/19   Page 1 of 2




               UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

IN RE:                                         CASE NO. 19-40196-KKS

DAVID HARRISON WOODYARD                        CHAPTER 7
and
SHELLEY WILLIAMS WOODYARD,

                   Debtors.
                                         /

  ORDER APPROVING APPLICATION BY TRUSTEE TO EMPLOY
   AND APPOINT REAL ESTATE AGENT, BILL T REALTY LLC,
     AND AUTHORIZATION TO SELL PROPERTY (Doc. 17)

      THIS MATTER came for consideration on the Application to

Employ and Appoint Real Estate Agent, Bill T Realty LLC, and

Authorization to Sell Property (Doc. 17) filed by Trustee Mary W.

Colón, and it appearing that the services of a real estate agent are

warranted and will be required to fully administer this case, and it

further appearing that Bill T Realty LLC is qualified to represent the

Trustee in this matter, it is

      ORDERED:

          1. The Application is APPROVED.

          2. Trustee, MARY W. COLÓN, is authorized to employ the

             above-named entity as Real Estate Agent for the Trustee,
         Case 19-40196-KKS     Doc 18   Filed 05/16/19   Page 2 of 2




             to perform all such marketing/listing/sales services as may

             be necessary in carrying out the Trustee's duties in this

             case.

         3. The Trustee shall not hereafter disburse any monies or

             transfer any property to the above agent in satisfaction of

             commission fees incurred during this case except upon

             further order of this Court.

         4. Upon completion of her services, the Real Estate Agent

             shall apply to the court for an award of Real Estate

             Agent's fees.



                                 May 16, 2019
            DONE and ORDERED on _________________.




                                     ____________________________
                                     KAREN K. SPECIE
                                     Chief U.S. Bankruptcy Judge


Trustee Mary W. Colón is directed to serve a copy of this order on
interested parties and file a proof of service within three (3) days of
entry of the order.

Order prepared by: Mary W. Colón, Esq.
